                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF ALABAMA
                                  NORTHERN DIVISION

 IN RE:                                        )
                                               )
 BUTLER, DANNY RAY                             )    CASE NO. .14-71859-CRJ-7
                                               )
                                               )
          DEBTOR.                              )    CHAPTER 7

                     BANKRUPTCY ADMINISTRATOR'S STATEMENT OF
                     POSITION REGARDING CHAPTER 7 FINAL REPORT

        1.      Section 317(b) of Title III of the Judicial Improvements Act of 1990 gives the
 Bankruptcy Administrator standing to appear in cases filed under Title II of the United
 States Code. This Bankruptcy Administrator's Statement of Position Regarding Chapter 7
 Final Report is filed pursuant to that authority.

         2.     I, Richard M. Blythe, Division Attorney for the Bankruptcy Administrator's
 Office for the Northern District of Alabama, Northern Division, hereby certify that I have
 reviewed the final report filed by the trustee in the above styled case and have found no
 basis upon which to raise any objection or reservation regarding any aspect of the same.

         3.     The Trustee is treating as unsecured, and proposes to pay an equal pro rata
 dividend on the timely filed claims. Said claimants have the right to object to the treatment
 of their claims in the manner provided for in the Notice of Final Hearing to be mailed by the
 Trustee's office.

          4.     Dupicate claims have been witdrawn by the claimant

 SEE COPY OF TRUSTEE'S PROPOSED DISTRIBUTION ATTACHED TO NOTICE OF
 HEARING ON FINAL REPORT.

          Respectfully submitted this date:         June 24, 2022


 Bankruptcy Administrator



 By:      /s/Richard M. Blythe
          Richard M. Blythe
          Division Attorney
          Alabama Bar ID No.: ASB-3199-B52R




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